            Case 1:20-cr-00661-CM Document 13 Filed 04/28/21 Page 1 of 1


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I THE UNITED STATES DISTRICT COURT FOR                                     DOCUMENT
THE SOUTHER DISTRICT OF EW YORK                                            ELECTRONICALLY Fll,ED
                                                                           ooc #:         - L  I •
I THE MATTER OF:
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                                                                             , :i: FILED:      2r . ·'
THE U ITED STATES OF AMERJCA,
                                                              Indictment o. 20 Cr 661 (CM)

              -v-


AMIR BRU O ELMAA I
              Defendant.


                          NOTICE OF BO D E CUMBRA CE

       TAKE     OTICE that the fo llowing persons have encumbered the hereafter described

property upon a surety bond before the Hon. Colleen McMahon, Chief Judge of the United States

District Court for the Southern District of New York, The same constitutes a lien upon such

property.

Surety of Bond: Stephen Bartolomeo and Rita Zare

Description of Property: Lor•· B-3:· containing 2. 0018 acres, more or less, as shown upon a

plat by Gamma Associates, Engineers, dated April 16, 1985, and recorded in the Office of the

Clerk of the County Commission of Berkeley County, West Virginia, in Deed Book o. 389, at

Page 502. And further subdivided and set forth as Lot B-3a and Lot B-3b, and recorded in the

aforesaid Clerk's Office in Deed Book 441. at Page 65.

Amount of Surety provided: $ 274,000.00.

        Given under my hand thiJ     f day of April 202 1.
                                 -             ;)i,dercd, )      JA
                                               r~IG
                                              Hon. Colleen McMahon, USDJ
